Case 1:25-cv-00778-LLA   Document 35-3   Filed 04/18/25   Page 1 of 3




                 Exhibit B
      Case 1:25-cv-00778-LLA         Document 35-3        Filed 04/18/25     Page 2 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                   Plaintiff,

                        –v.–                        Case No. 25-cv-00778-LLA

 SERGIO GOR, et. al.,

                   Defendants.



  DECLARATION OF EDUARDO “EDDY” ARRIOLA IN SUPPORT OF PLAINTIFF

       1.     I was confirmed by the United States Senate as a member of the Inter-American

Foundation (IAF) board of directors on March 29, 2012. The statements made in this declaration

are based on my personal knowledge and my understanding of information made available to me.

       2.     Through my position as Chair of the IAF Board, I have overseen and observed Ms.

Aviel’s diligent efforts to secure bipartisan championship for the IAF, and to push towards

efficiency within the Foundation. Ms. Aviel has been committed to aligning the IAF’s efforts with

the Trump Administration’s policy priorities including providing alternatives to migration and

combatting narcotics trafficking. Our Board and Ms. Aviel have worked closely to ensure full

alignment on strategy, while following all lawful guidance.

       3.     Neither President Trump nor anyone from his Office ever asked me to terminate

the IAF’s president and CEO, Sara Aviel. To the best of my knowledge, no other Board member

received any such a directive from the President either. To this day, I have not received any

communication from President Trump or anyone from his Office dismissing me from the Board

of the IAF.
       Case 1:25-cv-00778-LLA          Document 35-3        Filed 04/18/25      Page 3 of 3




       4.      Exhibit L is a true and correct copy of the public letter I wrote to Sara Aviel.



       I declare under penalty of perjury under 28 U.S.C. § 1746 that the foregoing declaration is

true and correct.

Dated this 18th day of April, 2025.



Signed:        /s/ Eddy Arriola                       .

Print Name:    Eduardo “Eddy” Arriola                 .




                                                 2
